                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )       Case No. 14-00029-07-CR-W-GAF
                                             )
FREDERICK D. CLARK,                          )
                                             )
                      Defendant.             )

                                             ORDER

       On January 29, 2015, defendant entered a plea of guilty to the lesser included offense of

Count One of the Indictment before United States Magistrate Judge John T. Maughmer. On

January 29, 2015, Judge Maughmer issued his Report and Recommendation (Doc. #279).

       Upon careful and independent review, this Court finds that defendant’s plea was

knowledgeable and voluntary and that the offense charged is supported by an independent basis

in fact containing each of the essential elements of such offense. Accordingly, this Court hereby

adopts and incorporates as its own Opinion and Order the Report and Recommendation of

United States Magistrate Judge John T. Maughmer.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and

defendant is adjudged guilty. The parties will be advised of the date of the sentencing hearing.

SO ORDERED.

                                                     s/ Gary A. Fenner
                                                     GARY A. FENNER, JUDGE
                                                     UNITED STATES DISTRICT COURT

DATED: February 18, 2015




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